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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                             DELTA DIVISION

JARELL D. TERRY                                                             PLAINTIFF
ADC #149998C

v.                        CASE NO. 2:20-CV-00036 BSM

J. DYCUS and D. NORMENT                                                  DEFENDANTS

                                        ORDER

       The proposed findings and recommendations (“RD”) from United States Magistrate

Judge Beth Deere [Doc. No. 59] has been received. After carefully reviewing the record, the

RD is adopted. Jarell Terry’s motion to amend his complaint [Doc. No. 58] is denied.

Terry’s motion for an extension of time [Doc. No. 65] is denied.

       IT IS SO ORDERED this 17th day of September, 2020.



                                                   UNITED STATES DISTRICT JUDGE
